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				WATSON v. STATE2015 OK CR 3Case Number: PC-2014-637Decided: 02/17/2015STANLEY WATSON, Petitioner, v. STATE OF OKLAHOMA, Respondent.

Cite as: 2015 OK CR 3, __  __

				

ORDER AFFIRMING DENIAL OF SECONDAPPLICATION FOR 
POST-CONVICTION RELIEF
¶1 The Petitioner has appealed to this Court from an order of the District 
Court of Comanche County denying his second post-conviction motion requesting 
DNA testing in Case No. CF-2000-428. In that case, Petitioner was tried by a 
jury and convicted of Murder in the First Degree. He was sentenced in accordance 
with the jury's verdict to life imprisonment. Petitioner appealed to this Court 
and his Judgment and Sentence was affirmed. Watson v. State, No. 
F-2001-1356 (Okl.Cr. November 4, 2002) (not for publication).
¶2 On January 6, 2014, Petitioner filed in the District Court his first 
post-conviction motion requesting DNA testing, pursuant to the Postconviction 
DNA Act, 22 O.S.Supp.2013, §§ 
1373 - 1373.7 
(effective November 1, 2013). On March 4, 2014, the District Court issued an 
order denying Petitioner's first motion concluding that, because Petitioner 
failed to provide the necessary affidavit, he was not eligible for DNA testing 
pursuant to 22 O.S.Supp.2013, § 
1373.2(C). 
Petitioner appealed to this Court from that District Court order and the appeal 
was dismissed because it was not timely filed. Watson v. State, No. 
PC-2014-302 (Okl.Cr. April 17, 2014). On April 7, 2014, Petitioner filed in the 
District Court a second post-conviction motion requesting DNA testing. On June 
17, 2014, the District Court denied Petitioner's second motion finding 
Petitioner had not raised any issue in his second motion that either was not or 
could not have been raised in his first post-conviction motion requesting DNA 
testing. The District Court concluded that the grounds for relief Petitioner 
asserted could not be the basis of his second motion. Petitioner has filed this 
appeal from the District Court order denying his second post-conviction motion 
requesting DNA testing.
¶3 This Court has recognized that the procedure for any appeal under the 
Postconviction DNA Act is the same as an appeal to this Court under the Uniform 
Post-Conviction Act, as set forth in 22 O.S.2011, § 1087. State ex rel. Smith v. Neuwirth, 2014 OK CR 16, ¶ 11, 337 P.3d 763, 765-66 (citing 22 O.S.Supp.2013, § 1373.7, "An appeal under the provisions of the 
Postconviction DNA Act may be taken in the same manner as any other appeal"). We 
now find that, after a first post-conviction motion requesting DNA testing has 
been finally decided by the courts, the procedural bar provisions in Section 
1086 of the Uniform Post-Conviction Act apply to the petitioner's second or 
subsequent post-conviction motion requesting DNA testing under the 
Postconviction DNA Act.
¶4 Under the Uniform Post-Conviction Act, all grounds for relief available to 
an applicant must be raised in his original, supplemental or amended 
application. 22 O.S.2011, § 
1086. Any 
ground finally adjudicated or not so raised in any other proceeding the 
applicant has taken to secure relief may not be the basis for a subsequent 
application, unless the court finds a ground for relief asserted which for 
sufficient reason was not asserted or was inadequately raised in the prior 
application. Id.
¶5 Although the Postconviction DNA Act does not expressly include a 
procedural bar like that found in Section 1086, the Act only provides that a 
person may file "a motion." 22 O.S.Supp.2013, § 1373.2(A). Throughout the Act that motion is referred 
to in the singular number, indicating multiple motions are not intended. 
22 O.S.Supp.2013, §§ 
1373.2(C), 
(D), 1374.4(A), (C), 1373.5(B)(1), 1373.6(A). The Postconviction DNA Act does 
state that the person may file the motion "[n]otwithstanding any other provision 
of law concerning post-conviction relief." 22 O.S.Supp.2013, § 1373.2(A). However, we do not find that provision is 
intended to preclude use of the procedural bar found in the Uniform 
Post-Conviction Act. 22 O.S.2011, § 1086. We find the provision in Section 1373.2(A) is intended, and 
is necessary, to declare the Postconviction DNA Act retroactive and applicable 
to previously final criminal cases; in other words a post-conviction motion 
requesting DNA testing may be filed and heard regardless of the person's 
previous challenges to his or her conviction or sentence taken prior to the 
effective date of Postconviction DNA Act. 22 O.S.2011, § 3 ("No part of this code is retroactive unless expressly so 
declared"). In addition, we cannot find that the Legislature intended for 
persons otherwise eligible under the Postconviction DNA Act to be able to file 
successive motions for DNA testing without regard to the disposition of 
previously filed motions under the Act. Finally, a person procedurally barred 
from filing second and subsequent motions for DNA testing is not completely 
precluded from obtaining DNA testing. DNA testing is allowed under the 
Postconviction DNA Act, without the requirement of filing a motion, when both 
the State and the convicted person agree that post-conviction testing should be 
conducted. 22 O.S.Supp.2013, § 
1373.6(A). 
Therefore, we find a procedural bar like the one found in Section 1086 of the 
Uniform Post-Conviction Act may be utilized by the courts on any second or 
subsequent application for post-conviction relief requesting DNA testing under 
the Postconviction DNA Act.
¶6 As the District Court correctly noted in this case, Petitioner asserted 
and could have adequately raised his request for DNA testing in his first 
post-conviction motion requesting DNA testing. Petitioner has not provided any 
reason, and clearly not a sufficient reason, for not adequately raising the 
request for DNA testing in his first motion. See 22 O.S.2011, § 1086. Thus, that ground for relief may not be the basis for this 
subsequent motion. Id. Moreover, Petitioner never applied for an appeal 
out of time from the denial of his first post-conviction motion requesting DNA 
testing, and has not met his burden of establishing that he was denied an appeal 
in his first post-conviction proceeding through no fault of his own. Rule 
2.1(E), Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, 
App. (2015); see Blades v. State, 2005 OK CR 1, 107 P.3d 607; see also Smith v. State, 1980 OK CR 43, 611 P.2d 276. Therefore, the order of the District 
Court of Comanche County denying Petitioner's second post-conviction motion 
requesting DNA testing in Case No. CF-2000-428 should be, and is hereby, 
AFFIRMED.
¶7 Pursuant to Rule 3.15, Rules of the Oklahoma Court of Criminal 
Appeals, Title 22, Ch.18, App. (2015), the MANDATE is ORDERED 
issued forthwith upon the filing of this decision with the Clerk of this 
Court.
¶8 IT IS SO ORDERED.
¶9 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 17th day of 
February, 2015.
/S/CLANCY SMITH, Presiding Judge
/S/GARY L. LUMPKIN, Vice Presiding Judge
/S/ARLENE JOHNSON, Judge
/S/DAVID B. LEWIS, Judge
ATTEST:
Michael S. RichieClerk




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2005 OK CR 1, 107 P.3d 607, BLADES v. STATEDiscussed
&nbsp;2014 OK CR 16, 337 P.3d 763, STATE ex rel. SMITH v. NEUWIRTHDiscussed
&nbsp;1980 OK CR 43, 611 P.2d 276, SMITH v. STATEDiscussed
Title 22. Criminal Procedure
&nbsp;CiteNameLevel

&nbsp;22 O.S. 1373, Short TitleCited
&nbsp;22 O.S. 1373.2, Eligibility and Procedures for Postconviction  DNA TestingDiscussed at Length
&nbsp;22 O.S. 1373.6, When State and Convicted Person Agree to Postconviction DNA TestingCited
&nbsp;22 O.S. 1373.7, AppealsCited
&nbsp;22 O.S. 3, Code Not Retroactive Unless Expressly DeclaredCited
&nbsp;22 O.S. 1086, Subsequent ApplicationDiscussed at Length
&nbsp;22 O.S. 1087, Appeal to Court of Criminal AppealsCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
